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Case: 1:12-cv-04428 Document #: 632-5 Filed: 06/21/18 Page 42 of 65 PageID #:34444
Case: 1:12-cv-04428 Document #: 632-5 Filed: 06/21/18 Page 43 of 65 PageID #:34445
Case: 1:12-cv-04428 Document #: 632-5 Filed: 06/21/18 Page 44 of 65 PageID #:34446
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Case: 1:12-cv-04428 Document #: 632-5 Filed: 06/21/18 Page 59 of 65 PageID #:34461
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